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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION
    __________________________________________
                                               )
    TYLER TECHNOLOGIES, INC.,                  )
                                               )
          Plaintiff,                           )
                                               )
    v.                                         )     Civil Action No. 4:20-cv-173
                                               )
    LEXUR ENTERPRISES INC., ROBERT FRY,        )
    JIMMY DAVIS, JOE THORNSBERRY,              )     JURY TRIAL
    AND JOHN DOES 1-100                        )     DEMANDED
                                               )
          Defendants.                          )
    __________________________________________)

                                               COMPLAINT

           Plaintiff Tyler Technologies, Inc. (“Tyler”) files the following complaint against Lexur

    Enterprises Inc. (“Lexur”), Robert Fry (“Fry”), Jimmy Davis (a/k/a Jim Davis) (“Davis”), Joe

    Thornsberry (a/k/a Shane Thornsberry) (“Thornsberry”), and John Does 1–100 (collectively, the

    “Defendants”). Tyler brings claims against Defendants for (1) violation of the Sherman Antitrust

    Act, 15 U.S.C. § 1, et seq., (2) violation of the Indiana Antitrust Act, Ind. Code § 24-1-2-1, et seq.,

    (3) tortious interference with contract, (4) tortious interference with business relationships, and (5)

    civil conspiracy. Additionally, Tyler brings a claim for breach of the duty of loyalty against Davis

    and Thornsberry, and a claim for breach of contract against Thornsberry.

                                            INTRODUCTION

           1.         Defendants have engaged in a concerted scheme to interfere with the bidding on

    public works contracts to undermine honest and fair competition in connection with the award of

    such contracts.
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           2.      Lexur is a regional competitor of Tyler that worked with Davis and Thornsberry —

    while both were active Tyler employees with duties of loyalty to Tyler — to secretly arrange for

    various Indiana counties to rebid work Tyler was actively and successfully performing under

    contract with each of those counties. Defendants undertook a series of steps over several weeks

    to ensure that neither Tyler nor any other competitor would have a full and fair opportunity to bid

    competitively with Lexur, that Lexur would be granted the bids no matter what, and that Tyler

    would be terminated mid-contract. In other words, Defendants orchestrated and implemented a

    predetermined rebid process directly intended to undermine the transparent, public bidding that is

    required for public works contracts (the “Rebid Conspiracy”). Not only is the Rebid Conspiracy

    an affront to honest and fair competition, but it constitutes an underhanded plot directed squarely

    at leveraging Tyler’s employees and goodwill with its clients for the purpose of destroying those

    relationships and securing those clients for Lexur’s benefit instead. The Rebid Conspiracy is an

    egregious violation of federal and Indiana antitrust laws and multiple common laws.

           3.      As discussed more fully below, Tyler has contracts with a number of Indiana

    counties for the provision of cyclical reassessment services. Through these services, Tyler helps

    counties systematically reassess the value of the property within their jurisdictions to ensure that

    property taxes are calculated appropriately.

           4.      As their name implies, cyclical reassessments occur on a cyclical basis — relevant

    here, assessments are conducted on four-year cycles, with 25% of the properties within a county

    reassessed each year. Counties issue requests for bids for cyclical reassessment contracts in the

    year prior to a four-year cycle. Currently, Indiana is in the middle of a four-year cycle scheduled

    to end in 2022.




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           5.      Tyler was awarded cyclical reassessment contracts for various Indiana counties for

    the 2018–2022 cycle. Tyler has been performing those services in a satisfactory manner and has

    not received any negative feedback from the counties. In the ordinary course, bids for the

    upcoming 2022–2026 cycle would not be solicited until 2021.

           6.      In a deviation from the ordinary course, Defendants orchestrated the Rebid

    Conspiracy, by which a subset of the Indiana counties already under contract with Tyler would

    issue out-of-cycle requests for bids with an unusually short turnaround time and minimal notice,

    award new cyclical reassessment contracts to Lexur despite the lack of any competing bids, and

    terminate their 2018–2022 cyclical reassessment contracts with Tyler in the middle of the

    contracted-for term.

           7.      During their employment with Tyler, Davis and Thornsberry were tasked with

    project roles and served as primary points of contact for the various Indiana counties at issue.

    Lexur leveraged Davis’ and Thornsberry’s inside positions at Tyler to execute the scheme at the

    counties, minimize Tyler’s chances of retaining its contracts with those counties, and maximize

    the likelihood of Lexur obtaining such contracts.        By helping Lexur with this scheme, on

    information and belief, Davis and Thornsberry were promised positions with Lexur to work on the

    anticipated new contracts.

           8.      Defendants’ unlawful scheme has been somewhat successful.                   Based on

    information known to date, Defendants approached six Indiana counties to engage them in this

    scheme. One rejected the approach. Another issued an out-of-cycle request for bids but, upon

    reconsideration of the circumstances surrounding its issuance and that only one bid was received

    (from Lexur), that county decided to issue another request for bids and has yet to award its contract.

    Yet another county issued an out-of-cycle request for bids and, like the others, received only one




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    bid from Lexur. Upon being informed by Tyler of the very suspicious circumstances surrounding

    the rebid, however, that county decided to forego entering into a contract with Lexur, and remains

    under contract with Tyler. The other three counties issued out-of-cycle requests for bids, awarded

    the contracts to Lexur (the only bidder in each case), and terminated Tyler’s 2018–2022 cyclical

    reassessment contracts mid-term.

           9.      Due to Defendants’ surreptitious activities, three counties have awarded their

    contracts to Lexur on what is essentially a no-bid basis and, despite the dishonest and unfair

    process underlying the rebid, have purported to terminate Tyler’s contracts “for convenience” in

    breach of their contracts with Tyler.

           10.      The three lost contracts will deprive Tyler of the remaining value of each of those

    2018–2022 contracts, a value that readily approaches the million-dollar mark. Tyler risks losing

    even more if any further contracts are terminated as a result of the Rebid Conspiracy (such as the

    contract currently subject to a second request for bids). Moreover, Tyler has been forced to expend

    significant resources to hire counsel to address and ultimately protest the surreptitious bids with

    each of the implicated counties, including most recently to invoke the dispute resolution processes

    set out in the cyclical reassessment contracts. Those costs continue to be incurred, as do costs

    associated with Tyler’s need to file this lawsuit.     And beyond all of the foregoing, Tyler has

    suffered losses associated with significant disruption to its business as a result of these disturbing

    circumstances, such as the impact on Tyler employees left with no work because of the sudden,

    improper termination of the contracts at issue.

           11.     The bottom line is that the recent cyclical reassessment awards to Lexur were not

    the product of an open and honest competition as required by federal and Indiana law. Instead,

    those awards arose from a weeks-long (if not longer) conspiracy between Defendants to target the




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    counties by using Davis’ and Thornsberry’s inside knowledge and goodwill as Tyler employees to

    set up a veiled and unfair bidding process to ensure Lexur could steal work from Tyler without

    having to contend with fair contracting and routine competition in the best interests of Indiana

    taxpayers.

           12.     Tyler has been harmed by Defendants’ anti-competitive and tortious conduct and

    is entitled to compensatory damages, treble damages pursuant to the relevant antitrust statutes,

    costs, and reasonable attorney’s fees. Tyler is further entitled to disgorgement of salary and other

    compensation, punitive damages, and lost profits from Davis and Thornsberry in connection with

    their breach of the duty of loyalty, as well as Thornsberry’s breach of his contractual obligations.

                                                PARTIES

           13.     Tyler is the largest software company in the nation that focuses solely on providing

    integrated software and technology services to the public sector. Tyler has more than 26,000

    successful installations across more than 10,000 sites, with clients in all 50 states, Canada, the

    Caribbean, Australia, and other international locations.       Tyler offers four solution groups,

    including Public Administration, Courts and Public Safety, K-12 Education, and Transformative

    Technology. Within Tyler’s Public Administration solutions, Tyler provides solutions for the core

    functions of government: appraisal, tax collections, records, community development, utility

    billing, asset maintenance, finance, and administration. Tyler provides appraisal and tax services

    to jurisdictions across the country. Since launching in 1938, Tyler’s appraisal and tax business

    has set the industry standard for integrated tax assessment software and services.           Tyler’s

    experience and expertise are confirmed by, among other things, the market presence it enjoys in

    Indiana (where Tyler provides services to over twenty Indiana counties). Tyler is a Delaware

    corporation with headquarters located at 5101 Tennyson Parkway, Plano, Texas 75024.




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           14.     Lexur, acting through its Lexur Appraisal Services operating division, is a regional

    competitor of Tyler. Its work has been limited almost exclusively to Ohio. On information and

    belief, its recent wins in Indiana as a result of the Rebid Conspiracy represent its first contracts in

    the state. Lexur is an Ohio corporation with headquarters located at 7755 Paragon Road, Suite

    109, Dayton, Ohio 45459.

           15.     Robert Fry is the President and Chief Financial Officer of Lexur. On information

    and belief, Fry was fully aware of, and at least engaged in (if not orchestrated), the Rebid

    Conspiracy. On information and belief, Fry currently resides at 6608 Green Park Drive, Dayton,

    Ohio 45459.

           16.     Davis was employed by Tyler for approximately eleven and a half years. He

    resigned on July 6, 2020. At the time of his resignation, Davis was a Senior Appraisal Projects

    Supervisor with responsibility over the Indiana counties of Ripley, Floyd, Dearborn, and Jackson.

    On information and belief, Davis is either currently working for Lexur or intends to work for Lexur

    in the near future, with the intention of serving some or all of the counties redirected to Lexur by

    the Rebid Conspiracy. On information and belief, Davis currently resides at 736 S. Jackson Park

    Drive, Seymour, Indiana 47274.

           17.     Thornsberry was employed by Tyler for approximately eleven and a half years. He

    was terminated on July 21, 2020. At the time of his termination, Thornsberry was an Associate

    Project Supervisor with responsibility over the Indiana counties of Jefferson and Switzerland. On

    information and belief, Thornsberry is either currently working for Lexur or intends to work for

    Lexur in the near future, with the intention of serving some or all of the counties redirected to

    Lexur by the Rebid Conspiracy. On information and belief, Thornsberry currently resides at 7833

    E. Brushy Fork Road, Madison, Indiana 47250.




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            18.     The true identity of the John Does is currently unknown. Tyler believes that other

    individuals or entities encouraged, assisted, or supported Defendants in their anti-competitive

    scheme to restrict bidding on public works contracts and to tortiously interfere with Tyler’s

    contractual and business relationships. Tyler believes that information obtained in discovery will

    lead to the identification of the John Does.

                                     JURISDICTION AND VENUE

            19.     This Court has personal jurisdiction over Lexur because Lexur has conducted or

    solicited business in Indiana that has given rise to Tyler’s claims, has committed tortious and illegal

    acts in Indiana, and has maintained continuous and systematic contacts within Indiana.

            20.     This Court has personal jurisdiction over Fry because, at all relevant times, Fry has

    served as the President and Chief Financial Officer of Lexur, has conducted or solicited business

    in Indiana on Lexur’s behalf that has given rise to Tyler’s claims, and has committed tortious and

    illegal acts in Indiana.

            21.     This Court has personal jurisdiction over Davis and Thornsberry because Davis and

    Thornsberry are Indiana residents, have conducted or solicited business in Indiana that has given

    rise to Tyler’s claims, have committed tortious and illegal acts in Indiana, and have breached duties

    in Indiana.

            22.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.

    § 1331 because Tyler’s claim against Defendants under the Sherman Antitrust Act, 15 U.S.C. § 1,

    et seq., raises a federal question. Pursuant to 28 U.S.C. § 1367, Tyler’s remaining claims fall

    within this Court’s supplemental jurisdiction because they are so related to the federal claim that

    they form part of the same case or controversy.




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           23.     This Court also has subject matter jurisdiction over this case pursuant to 28 U.S.C.

    § 1332 because diversity exists among the parties and the amount in controversy exceeds $75,000,

    exclusive of interest and costs.

           24.     Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in this Court because a

    substantial part of the events giving rise to this dispute occurred within this District.

                                       FACTUAL BACKGROUND

    I.     Tyler’s 2018–2022 cyclical reassessment contracts with various Indiana counties.

           25.     Under Indiana law, Indiana County Assessors are required to physically inspect and

    reassess the value of all real property within their county over the course of four years. During

    each year of a four-year cycle, 25% of properties within the county are reassessed. Once all of the

    properties within a county have been reassessed, a new four-year cycle begins. This process is

    commonly known as a “cyclical reassessment.”

           26.     Indiana County Assessors regularly engage private contractors to provide support

    and advice in connection with cyclical reassessments. To engage such contractors, Indiana County

    Assessors are required by Indiana law to advertise for bids. Bids are typically solicited in the year

    prior to the start of a new four-year cycle.

           27.     The current cyclical reassessment period started on May 1, 2018, and is scheduled

    to end on April 30, 2022. Relevant here, the Indiana counties of Dearborn, Floyd, Jackson,

    Jefferson, Ripley, and Switzerland (collectively, the “Counties”) each solicited bids for such 2018–

    2022 cycle in the late spring of 2017. Tyler submitted bids in response to the Counties’ 2017

    solicitations and was ultimately awarded the work for each of the Counties.

           28.     Notably, Lexur also submitted bids in response to at least some of the Counties’

    2017 solicitations but was not awarded any contracts. On information and belief, Lexur lost each




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    bid it submitted in part due to Lexur’s complete lack of experience providing assessment services

    in Indiana.

           29.     After winning the work, Tyler entered into cyclical reassessment contracts with

    each of the Counties in the summer of 2017 (the “2017 Tyler Contracts” or the “Contracts”).

           30.     Apart from pricing, the 2017 Tyler Contracts are essentially identical due to the fact

    that Indiana mandates the use of a prescribed form for all cyclical reassessment contracts.

           31.     Under the terms of the 2017 Tyler Contracts, a County can only terminate such a

    contract for convenience if termination is in the County’s “best interest.” Additionally, a County’s

    termination of services for convenience must be “effected by delivery to [Tyler] of a Termination

    Notice at least thirty days prior to the termination effective date specifying the extent to which

    performance of services under such termination becomes effective.” Further, Tyler must be

    “compensated for services properly rendered prior to the effective date of termination.”

           32.     Tyler fully performed its obligations under the 2017 Tyler Contracts. Indeed, the

    Counties conducted quarterly reviews of Tyler’s services and Tyler did not receive any negative

    feedback at any time. In fact, Davis was responsible for reporting the Counties’ feedback to Tyler

    and never indicated to Tyler that the Counties were dissatisfied with Tyler’s services.

    II.    Tyler employees Davis and Thornsberry were responsible for the Counties.

           33.     Davis started work for Tyler on January 29, 2009. He was promoted to Senior

    Appraisal Projects Supervisor on or about February 21, 2015. From at least February 21, 2015

    through July 6, 2020, Davis had responsibility over four of the Counties — Ripley, Dearborn,

    Floyd, and Jackson. During this same time, Davis also had responsibility over the other two

    Counties — Switzerland and Jefferson — until responsibility for those two counties transferred to

    Thornsberry on February 15, 2020.




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       34.     Thornsberry started work for Tyler on April 13, 2009. From approximately

February 2015 to February 15, 2020, reporting to Davis, Thornsberry was assigned to perform

work for two of the Counties — Switzerland and Jefferson. He was promoted to Associate Project

Supervisor on or about February 15, 2020, and became the primary project manager responsible

for those Counties, through July 10, 2020.

       35.     In connection with his most recent promotion, on March 4, 2020, Thornsberry

entered into two written agreements with Tyler. The first was memorialized in his offer letter and

contained certain restrictive covenants (the “Restrictive Covenant Agreement”). A true and

accurate copy of the Restrictive Covenant Agreement is attached as Exhibit A.

       36.     Pursuant to the Restrictive Covenant Agreement’s terms, Thornsberry agreed to the

following (among other things):

       [F]or the one-year period following the termination of [Thornsberry’s]
       employment, for any reason, [Thornsberry] shall not (a) contact, call upon, solicit,
       or perform services competitive with those of Tyler as to any customer of Tyler for
       whom [Thornsberry] provided services or solicited, called on, or marketed on
       behalf of Tyler during the final two years of [Thornsberry’s] employment with
       Tyler, or (b) recruit, solicit or hire, or encourage or assist other persons or entities
       to recruit, solicit or hire, any employees of Tyler.

       Exhibit A at 2.

       37.     Thornsberry’s second agreement was a stand-alone Confidentiality Agreement,

which Thornsberry similarly executed on March 4, 2020. The Confidentiality Agreement required

Thornsberry, among other things, to maintain and protect Tyler’s confidential information before

and after his employment.

       38.     Tyler requires its employees to review and acknowledge the Tyler Employee

Handbook on an annual basis. Most recently, Davis and Thornsberry both acknowledged receiving

and reviewing Tyler’s 2020 Employee Handbook on May 7, 2020.




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      39.    Among other things, by acknowledging Tyler’s 2020 Employee Handbook, Davis

and Thornberry agreed and acknowledged as follows:

             a.     Tyler expects the undivided loyalty of its employees in the conduct of
                    business. It is important that employees be free from any financial interests
                    or other relationships that might conflict with the best interests of Tyler.
                    Accordingly, each employee shall avoid any investment or other interest in
                    any business that would conflict with the proper performance of their duties
                    or responsibilities for Tyler, or which might interfere with their
                    independence of judgment with respect to the transactions between Tyler
                    and such other business.
             b.     Tyler expects all officers, directors, and employees to exercise the highest
                    degree of professional business ethics in all actions they undertake on behalf
                    of Tyler.
             c.     The use of any Tyler assets for any unlawful or improper purpose is strictly
                    prohibited.
             d.     The use of Tyler employees, materials, or equipment for personal purposes
                    is strictly prohibited, unless specifically authorized.
             e.     Tyler’s employees, clients, vendors, and shareholders entrust [Tyler] with
                    certain confidential information relating to their business activities. The
                    nature of this relationship requires Tyler employees to strictly comply with
                    their confidentiality obligations, even after they leave employment with
                    Tyler.
             f.     As an employee, you have a responsibility to avoid unnecessary and/or
                    impermissible disclosure of confidential, proprietary information about
                    Tyler, its clients, and/or its vendors.
             g.     You are not to discuss with the officers, directors, or employees of
                    competing companies any topic that might give the impression of an illegal
                    agreement in restraint of trade. Such topics include, but are not limited to,
                    pricing agreements, client allocation, and division of sales territories.
             h.     Under no circumstances should confidential information be disclosed or
                    revealed within or outside the company without proper authorization or for
                    a permitted purpose.




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III.   Lexur and Fry — with Davis’ and Thornsberry’s inside Tyler knowledge and
       goodwill with the Counties — execute the Rebid Conspiracy.

       a.      Planning the Rebid Conspiracy

       40.     On information and belief, Lexur and Fry were working with Davis and/or

Thornsberry, and possibly others, for well over a month to prepare for, plan, and implement the

Rebid Conspiracy.

       41.     Although Davis and Thornsberry were Tyler employees with contractual and/or

common law duties to Tyler, they agreed to engage in these efforts to help Lexur and damage Tyler

right under Tyler’s nose, using Tyler’s goodwill and relationships with the Counties to implement

the Rebid Conspiracy.

       42.     In or about May 2020, Davis — as a Tyler employee — called the Jackson County

Assessor (“Jackson Assessor”) and asked if Jackson County would be willing to rebid its cyclical

reassessment contract mid-cycle. Davis also indicated that he was looking to leave Tyler and join

another company (Lexur). In other words, Davis reached out to his contact in Jackson County —

a relationship developed for Tyler and at Tyler’s expense — to ask her to rebid the contract and

give the work to a competitor that he hoped to join. The Jackson Assessor rejected the idea of

rebidding the contract.

       43.     Around the same time as Davis’ solicitation of Jackson County on Lexur’s behalf,

Fry and Davis had a telephone call. As there is no logical reason why Davis — a Tyler employee

— would be talking with the President of a competitor around the same time he was trying to

convince Tyler clients to jump ship to that same competitor, Tyler believes that discovery will

confirm that this call was about planning and implementing the Rebid Conspiracy.

       44.     Following the Jackson Assessor’s rejection of Defendants’ proposal, Defendants

continued to solicit the Counties as part of the Rebid Conspiracy. On information and belief, the



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Counties of Jefferson, Ripley, Switzerland, Floyd, and Dearborn engaged with Defendants’

outreach, at least initially, as evidenced by early written documentation of the Rebid Conspiracy.

       45.       Specifically, as early as June 2, 2020, Defendants had committed the Rebid

Conspiracy to writing. On that date, Davis sent an email from his personal email address

(jdavisdsl@frontier.com)         to       Thornsberry’s        personal         email       address

(shanethornsberry@gmail.com) attaching (1) a calendar outlining the timeline of events for the

Rebid Conspiracy (the “Calendar”), and (2) a draft termination notice for the Counties to send to

Tyler to terminate their respective contracts (the “Draft Termination Notice”). A true and accurate

copy of the June 2, 2020 email with its attachments is attached as Exhibit B.

       46.       The Calendar specifically referenced the Counties of Jefferson, Ripley,

Switzerland, Floyd, and Dearborn, and provided a day-by-day plan for the Rebid Conspiracy: the

Counties’ short-notice and minimally publicized release of the request for bids right before and/or

directly over the Fourth of July holiday; the intentional scheduling of the close of bids to occur

immediately or just before the next regularly scheduled county commissioners meetings (at which

Lexur would be awarded the contracts as the only bidder and Tyler termination notices would be

signed); termination of Tyler’s contracts with the Counties; the resignation of “all Staff” at Tyler

working on the Counties’ projects and “All Activities” on those Counties halted; the subsequent

transition of that Tyler staff to Lexur; and Lexur to pick up operations on the Counties under their

new contracts.




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       47.     The Calendar quite literally speaks for itself:




       48.     On information and belief, Lexur and Fry were driving forces behind the plan

outlined in the Calendar. Each aspect of the Rebid Conspiracy outlined in the Calendar necessarily

involved Lexur — being prepared for the otherwise secretive rebid, preparing its own bid,

attending the county commissioner meetings to be awarded the contracts, and ultimately hiring

Davis, Thornsberry, and “All Staff” from Tyler.

       49.     Davis in particular was an integral asset to Lexur and Fry. As reflected by its file

properties, Davis himself authored the Calendar:




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       50.    The Draft Termination Notice circulated by and between Davis and Thornsberry

on June 2, 2020 was also a key component of the Rebid Conspiracy. That Draft Termination

Notice was ultimately used by certain of the Counties to terminate the 2017 Tyler Contracts. It

too was authored by Davis:




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       51.     With the Calendar and Draft Termination Notice in the works, and the Counties of

Jefferson, Ripley, Switzerland, Floyd, and Dearborn in play, Defendants were well on their way

to implementing the Rebid Conspiracy.

       52.     Defendants even tried again to persuade Jackson County to engage in the Rebid

Conspiracy. On June 8, 2020, Jennifer Bippus (“Bippus”), a Lexur employee, sent an email to the

Jackson Assessor asking if she was available for a meeting on the afternoon of June 9, 2020.

Bippus also stated that she would be “visiting Shawna [Shawna Bushhorn, Ripley County

Assessor] and possibly Switzerland county” on the morning of June 9, 2020. Tyler believes that

discovery will confirm that Bippus wished to meet with the assessors of Jackson County, Ripley

County, and Switzerland County to further the Rebid Conspiracy.

       53.     The Jackson Assessor did not respond to Bippus’ June 8, 2020 email, but

Defendants were not dissuaded. Davis subsequently called the Jackson Assessor on Lexur’s behalf

(while still a Tyler employee!) and asked her to meet with Bippus. The Jackson Assessor rejected

Davis’ request once again and said that she was not interested in meeting with Lexur.

       54.     Further communications between and among Defendants and/or the Counties over

the next week reflect the continued refinement of the Rebid Conspiracy.

       55.     On June 15, 2020, Davis sent an email (again from his personal email address) to

Thornsberry (again at his personal email address) attaching (1) a draft notice to bidders relating to

the anticipated rebid for cyclical reassessment services for Switzerland County, (2) a draft request

for cyclical reassessment bids for Switzerland County, (3) a draft notice to bidders relating to the

anticipated rebid for cyclical reassessment services for Jefferson County, and (4) a draft request

for cyclical reassessment bids for Jefferson County. In that email, Davis asked Thornsberry to

“carefully review [the email’s attachments] for any error [sic] or omissions”:




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As evidenced by the attachments’ file properties, Davis authored the four attachments. The draft

notices to bidders for Switzerland County and Jefferson County attached to the email both state

that bids will be accepted until July 6, 2020, which is the same day the Calendar identifies as the

deadline to “Submit All Bids.”

       56.     Davis also sent an email from his personal email address to the Ripley County

Assessor, Shawna Bushhorn, on June 15, 2020 attaching (1) a draft notice to bidders relating to

the anticipated rebid for cyclical reassessment services for Ripley County and (2) a draft request

for cyclical reassessment bids for Ripley County. The draft notice states that bids will be accepted

until “10:00 A.M. EST the 1st [sic] of July 6, 2020[.],” once again consistent with the Calendar.

       57.     On June 16, 2020, Davis sent another email from his personal email address to the

Ripley County Assessor. This email attached (1) a revised draft notice to bidders relating to the




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anticipated rebid for cyclical reassessment services for Ripley County and (2) a revised draft

request for cyclical reassessment bids for Ripley County.        In this set, Davis corrected the

typographical error referenced in the preceding paragraph, such that the revised draft notice

attached to the June 16 email states that bids will be accepted until “10:00 A.M. EST July 6,

2020[.]”

       58.     The foregoing emails and attachments reflect that Davis and Thornsberry actively

drafted the very notices and requests for bids that the Counties were to issue in order to

surreptitiously rebid cyclical reassessment services while their contracts with Tyler were mid-

cycle, as well as the termination notices that the Counties were to issue later upon awarding the

contracts to Lexur and terminating Tyler mid-contract.

       b.      Executing the Rebid Conspiracy: The Counties Issue Requests for Bids and
               Lexur is the Sole Bidder

       59.     Shortly before the Fourth of July holiday (which is the time period identified in the

Calendar as “Counties advertise for support services”), Jefferson, Ripley, Switzerland, Floyd, and

Dearborn Counties issued (1) notices to bidders for the out-of-cycle rebid of cyclical reassessment

services, and (2) requests for cyclical reassessment bids. These documents are nearly identical to

the draft documents authored by Davis and sent on to the Counties.

       60.     While Lexur had advance notice of the rebids (as orchestrator of the Rebid

Conspiracy working directly with Davis, Thornsberry, and the Counties), the Counties did not

provide Tyler with any advance notice of their intention to solicit bids. With no reason to be

monitoring local papers for out-of-cycle bid notices on the contracts Tyler was successfully

performing for the Counties, Tyler only learned of the rebids indirectly and, as designed, without

sufficient time or context to submit a bid. Indeed, bidding had already closed in two of the

Counties by the time Tyler learned of the solicitations themselves.



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        61.      After learning of one of the rebids, Tyler naturally asked Davis, who was

responsible for the Counties on Tyler’s behalf, if he had any idea that they were planning to rebid.

Davis denied any such knowledge, despite that it is now clear that he personally authored the

notices and requests for bids themselves. Davis’ deceit further delayed Tyler’s confirmation that

the rebid process was underway, but Tyler’s concerns regarding the state of the Contracts

continued and Tyler determined to reach out directly to the Counties to inquire as to what was

going on (through someone other than Davis, the typical point of contact for Tyler on those

Counties). The Counties (except for Dearborn County) ignored Tyler’s inquiries.

        62.      The Rebid Conspiracy successfully eliminated any chance that Tyler would have

sufficient notice and lead time to prepare a meaningful bid in the very short window provided even

initially, much less in the very limited time remaining (if any) by the time Tyler learned of the

solicitations.

        63.      Depending on the County, bids were due on different dates during the first week of

July, all coinciding with the Calendar’s identification of July 6, 2020 as the model deadline to

“Submit All Bids.”

        64.      With the timing so carefully planned to eliminate any competition, Lexur was the

sole bidder for each of the cyclical reassessment contracts rebid by the Counties.

        65.      On July 6, 2020, the very day the Calendar identifies as the deadline for bid

submissions, Davis resigned from Tyler. On information and belief, Davis has since started

working for Lexur, or intends to start working for Lexur in the near future.




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       c.      Executing the Rebid Conspiracy: Jefferson, Ripley, and Switzerland Counties
               enter into new contracts with Lexur, and terminate their 2017 Tyler Contracts
               using Defendants’ Draft Termination Notice

       66.     Switzerland County, Jefferson County, and Ripley County held Board of

Commissioners meeting on July 6, 2020; July 9, 2020; and July 13, 2020, respectively. These are

the same dates identified on the Calendar.

       67.     During each of these meetings, the respective County Board of Commissioners

approved the termination of the County’s 2017 Tyler Contract, and further approved entering into

a new cyclical reassessment contract with Lexur. Interestingly, Fry signed the contracts with

Jefferson County and Ripley County on behalf of Lexur on July 6, 2020, even before they were

approved by the respective County Board of Commissioners.

       68.     On July 9, 2020, a few days before the Ripley County meeting, Davis (through his

personal email address) and the Ripley County Assessor exchanged emails regarding use of the

Draft Termination Notice to terminate Tyler’s cyclical reassessment contract with Ripley County.

In the email exchange, the Ripley County Assessor asked Davis for his advice on the Draft

Termination Notice’s language.      In response, Davis proposed the following language: “All

activities currently underway are to cease immediately and a final bill for services performed prior

to date of this notice is to be issued within 30 days.” This language was ultimately included word-

for-word in the Ripley County termination notice that was sent to Tyler. A true and accurate copy

of the July 9, 2020 email exchange between Davis and the Ripley County Assessor is attached as

Exhibit C.

       69.     After learning that the Switzerland, Jefferson, and Ripley County Board of

Commissioners had granted contracts to Lexur, Tyler sent letters to each of those Counties on July

15, 2020, protesting the issuance of what were effectively no-bid contracts.




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       70.     None of those Counties meaningfully responded to Tyler’s letters and each of them

instead sent letters to Tyler purportedly terminating for convenience their respective contracts with

Tyler. True and accurate copies of the Jefferson County Termination Notice, Ripley County

Termination Notice, and Switzerland County Termination Notice (collectively, the “Termination

Notices”) are attached as Exhibits D, E, and F, respectively.

       71.     The Termination Notices and the Draft Termination Notice authored and circulated

by and between Davis and Thornsberry some weeks earlier are nearly identical. In fact, the

Termination Notices and the Draft Termination Notice all include the same typographical error —

the word “has” is improperly used twice in the first sentence in each notice:

       Draft Termination Notice:




       Jefferson County Termination Notice:




       Switzerland County Termination Notice:




       Ripley County Termination Notice:




       Compare Exhibit B with Exhibits D–F. This is not a coincidence.


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       72.     The Jefferson County Termination Notice and Switzerland County Termination

Notice are both dated July 17, 2020, despite the fact that they were signed by the relevant county

assessors and commissioners earlier in July at the respective county meetings. See Exhibits D and

F. This too comes directly from the Draft Termination Notice, which was dated July 17, 2020

(consistent with the Calendar). See Exhibit B.

       73.     The Termination Notices constitute breaches of those Counties’ respective

contracts with Tyler. As a preliminary matter, the Contracts permit termination for convenience

only when it would be in the “best interest” of the Counties. Entering into new contracts with

Lexur — on information and belief, an entity with zero experience in Indiana that was rejected in

2017 for that very reason — on what is essentially a no-bid basis that was manipulated through a

surreptitious scheme is objectively not in the “best interest” of the Counties. Tyler is an industry

leader that provides high-quality services to over twenty Indiana counties, and has performed all

of its obligations under the relevant contracts with Jefferson County, Ripley County, and

Switzerland County in a satisfactory fashion for at least two years. None of these Counties raised

concerns or complaints regarding Tyler’s services prior to sending the Termination Notices.

       74.     To the extent that pricing is claimed by the Counties as a driving force for issuing

out-of-cycle requests for bids, that does not explain why it was done: (i) with no prior notice to

Tyler before being published in minimally circulated local papers, (ii) shortly before the Fourth of

July holiday, and (iii) with a very short turnaround for bids. All of those things minimize the

chances of obtaining the best possible price because it is highly unlikely that potential bidders,

such as Tyler, would have even been aware of the requests for bids in time to submit a proposal

(and, of course, Tyler was not). In other words, the timing of the requests for bids all but

guaranteed that the process would not be competitive and, as such, unequivocally is not in the




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Counties’ best interest. Moreover, since the 2017 Tyler Contracts are publicly available, it is not

at all surprising that Lexur’s proposed pricing was less than the pricing in the 2017 Tyler Contracts;

Lexur knew Tyler’s pricing and was the only party able to bid. Of course it bid lower — it knew

exactly what number it needed to beat (if only marginally).

       75.     Underscoring the impropriety of the Rebid Conspiracy, two of the Counties

targeted by Defendants, Dearborn and Floyd, have hesitated to terminate Tyler’s contract and

award the work to Lexur. Dearborn County was at first pulled into Defendants’ Rebid Conspiracy

and issued an out-of-cycle request for bids but, on reconsideration of the circumstances

surrounding its issuance and that Lexur was the only entity to submit a bid, decided to issue a

second request for bids. Tyler, by then on notice that such an out-of-cycle bid was expected from

Dearborn, was able to submit a bid in response to that second request (Lexur submitted another

bid as well). Dearborn County is still considering the bids it received.

       76.     Regarding Floyd County, its Board of Commissioners meeting took place on July

21, 2020, as indicated by the Calendar. Because this was the latest of Defendants’ scheduled

meetings on the Calendar, and came after Davis’ resignation and Tyler beginning to learn of the

Rebid Conspiracy, Tyler was able to send Floyd County a letter protesting the bid in advance of

that meeting, laying out many of the facts contained herein. With that information, at the meeting,

Floyd County’s Board of Commissioners was skeptical of the circumstances surrounding the rebid

process and instructed that it be taken under advisement. Floyd County has recently determined

that it will not award a contract to Lexur, and its 2017 Tyler Contract remains in effect.

       77.     Jefferson, Ripley, and Switzerland Counties also breached their respective

contracts with Tyler by requesting Tyler to cease work “immediately.” As discussed above, the

2017 Tyler Contracts require the Counties to provide notice of termination “at least thirty days




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prior to the termination effective date.” Then, until the “termination effective date,” Tyler is

entitled to continue rendering its services and be paid for those services. Specifically, the Counties

must compensate Tyler for all services it renders “prior to the effective date of termination,” which

includes those services rendered after it received the notice of termination.

       d.      Various Tyler Employees are solicited or hired by Lexur and Fry, or otherwise
               leave Tyler as a result of the Rebid Conspiracy

       78.     On information and belief, Lexur was the architect of the Rebid Conspiracy, which

is illustrated by its parallel efforts to secure the Tyler staff it would need to meet the needs of the

anticipated contracts it would soon be awarded through execution of the conspiracy. As noted

above, the Calendar dictated that “All Staff” at Tyler would resign and then transition to Lexur.

       79.     Tyler has employed seven full-time employees assigned to the Counties. Of them,

as of the date of this filing, three have left — or are imminently leaving — Tyler as a result of the

Rebid Conspiracy:

               a.      Davis resigned on July 6, 2020 and, on information and belief, is either
                       currently working for Lexur or intends to work for Lexur in the near future,
                       with the intention of serving some or all of the Counties.

               b.      Thornsberry was terminated on July 21, 2020 (following Tyler’s discovery
                       of his involvement in the Rebid Conspiracy), and, on information and belief,
                       is either currently working for Lexur or intends to work for Lexur in the
                       near future, with the intention of serving some or all of the Counties.

               c.      Another Tyler employee assigned to one of the Counties that has now
                       terminated its 2017 Tyler Contract issued a resignation to Tyler on August
                       7, 2020. On information and belief, this employee’s resignation is a direct
                       result of the Rebid Conspiracy.

       80.     Tyler has learned that at least two more of the seven employees assigned to the

Counties have been actively solicited by Defendants to join Lexur.

       81.     For example, Fry approached at least one Tyler employee regarding an opportunity

to work with Lexur on the anticipated new contracts with certain of the Counties. Fry indicated



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that he expected work for certain of the Counties to be shifting from Tyler to Lexur. On

information and belief, Fry also used inside information about Tyler compensation in his efforts

to solicit Tyler employees — information he could only have received through Davis and/or

Thornsberry.

       82.     Another employee was solicited by Davis (while he was still working for Tyler!) to

join Lexur.

       83.     Tyler believes that discovery will show other employment offers being made to the

Tyler staff associated with the Counties, consistent with the Calendar’s instruction that “All Staff”

were to resign from Tyler and then transition to Lexur.

IV.    Defendants’ unlawful Rebid Conspiracy has harmed Tyler.

       84.     As of this filing, Defendants’ anti-competitive scheme and tortious activities have

caused Tyler to lose its cyclical reassessment contracts with Jefferson County, Ripley County, and

Switzerland County. Tyler has been forced to expend significant resources to hire counsel to

protest Lexur’s bids with each of these counties, which has included invoking the dispute

resolution processes set out in the Contracts. Given the significant harm caused by Defendants,

Tyler is, at a minimum, entitled to recover compensatory damages, punitive damages, treble

damages, reasonable attorney’s fees, and the costs it incurs in connection with this proceeding.

       85.     Defendants’ misconduct has also jeopardized other Tyler contracts and business

relationships. Most notably, there is a risk of Tyler losing its cyclical reassessment contracts with

Dearborn County and, albeit to a lesser extent now, Floyd County. While these counties have not

terminated Tyler’s contracts for the time being, Defendants’ Rebid Conspiracy has, at a minimum,

strained Tyler’s relationship with such counties.




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       86.     Regarding Davis and Thornsberry, rather than devoting their time and energy to

furthering Tyler’s interests, they chose to surreptitiously collude with a Tyler competitor. The

scheme began while Davis and Thornsberry were still Tyler employees, using Tyler time and

resources. Tyler is, at a minimum, entitled to recover any salary or other compensation it provided

to Davis or Thornsberry while they were conspiring against Tyler. And, given the audacity and

depth of this scheme, punitive damages are entirely appropriate.


             COUNT I: VIOLATION OF THE SHERMAN ANTITRUST ACT
                              (15 U.S.C. § 1, et seq.)
                             (against all Defendants)

       87.     Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

       88.     Defendants violated 15 U.S.C. § 1 by, among other things, encouraging, assisting,

and supporting a conspiracy for the Counties to issue out-of-cycle requests for bids with an

unusually short turnaround time and minimal notice designed to eliminate competition, to

terminate the Counties’ 2017 Tyler Contracts, and to award the cyclical reassessment contracts to

Lexur as the sole bidder.

       89.     Through the above-described conspiracy, Defendants restrained competition for

public works contracts by reducing the number of potential bidders and rigging the result of the

bidding process. As a result, Defendants have unreasonably restricted free competition in violation

of the Sherman Act.

       90.     Defendants’ anti-competitive conspiracy has affected interstate commerce. Tyler

is a Delaware corporation with headquarters located in Texas. Lexur is an Ohio corporation with

headquarters located in Ohio. Davis and Thornsberry reside in Indiana. The Counties are located




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in Indiana and the cyclical reassessment contracts at the heart of the conspiracy involve services

to be performed in Indiana.

       91.     Defendants’ conduct directly and proximately caused Tyler to lose its cyclical

reassessment contracts with Jefferson County, Ripley County, and Switzerland County. Tyler also

stands to lose additional contracts due to Defendants’ collusion, including but not limited to tyler’s

cyclical reassessment contracts with Dearborn County and Floyd County.

       92.     As a direct and proximate result of Defendants’ collusion, Tyler has been, and will

continue to be, irreparably harmed, and has suffered monetary damages in an amount to be

determined at trial.

       93.     Pursuant to 15 U.S.C. § 15, Tyler is entitled to treble damages, the costs it incurs in

connection with this proceeding, and reasonable attorney’s fees.


              COUNT II: VIOLATION OF THE INDIANA ANTITRUST ACT
                            (Ind. Code § 24-1-2-1, et seq.)
                               (against all Defendants)

       94.     Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

       95.     Defendants violated Ind. Code § 24-1-2-3 by, among other things, encouraging,

assisting, and supporting a conspiracy for the Counties to issue out-of-cycle requests for bids with

an unusually short turnaround time and minimal notice designed to eliminate competition, to

terminate the Counties’ 2017 Tyler Contracts, and to award the cyclical reassessment contracts to

Lexur as the sole bidder.

       96.     Through the above-described conspiracy, Defendants have restrained and restricted

bidding for public work contracts by reducing the number of potential bidders and rigging the




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result of the bidding process. As a result, Defendants have restricted free competition in violation

of Indiana law.

       97.     Defendants’ conduct directly and proximately caused Tyler to lose its cyclical

reassessment contracts with Jefferson County, Ripley County, and Switzerland County. Tyler also

stands to lose additional contracts due to Defendants’ collusion, including but not limited to its

cyclical reassessment contracts with Dearborn County and Floyd County.

       98.     As a direct and proximate result of Defendants’ collusion, Tyler has been, and will

continue to be, irreparably harmed, and has suffered monetary damages in an amount to be

determined at trial.

       99.     Pursuant to Ind. Code § 24-1-2-7, Tyler is entitled to treble damages, the costs it

incurs in connection with this proceeding, and reasonable attorney’s fees.


              COUNT III: TORTIOUS INTERFERENCE WITH CONTRACT
                              (against all Defendants)

       100.    Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

       101.    At all relevant times, Tyler had contractual relationships with the Counties. As

discussed above, Tyler entered into cyclical reassessment contracts with the Counties for the time

period of 2018–2022, i.e. the 2017 Tyler Contracts.

       102.    At all relevant times, Defendants had actual knowledge of the 2017 Tyler Contracts.

During their time as Tyler employees, Davis and Thornsberry were assigned to work with the

Counties precisely under those Contracts. On information and belief, Davis and Thornsberry

provided their knowledge of the 2017 Tyler Contracts to Lexur and Fry in connection with the

Rebid Conspiracy. Also, as a regional competitor, Lexur would certainly have known that Tyler




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was the current service provider for the Counties as to the services for which it was itself bidding.

Moreover, the 2017 Tyler Contracts are publicly available documents.

       103.    Defendants knowingly, wrongfully, intentionally, maliciously, and tortiously

interfered with Tyler’s contractual relationships with the Counties without justification and

through improper means by, among other things, encouraging, assisting, and supporting a

conspiracy for the Counties to issue out-of-cycle requests for bids with an unusually short

turnaround time and minimal notice designed to eliminate competition, to terminate the Counties’

2017 Tyler Contracts, and to award the cyclical reassessment contracts to Lexur as the sole bidder.

       104.    Defendants’ interference with the 2017 Tyler Contracts was malicious and

specifically directed to the injury and damage of Tyler, as described above.

       105.    As a direct and proximate result of Defendants’ improper actions, Tyler’s

contractual relationships with the Counties have been irreparably damaged, and Tyler has suffered

monetary damages in an amount to be proven at trial. Three of the Counties have improperly

terminated their cyclical reassessment contracts with Tyler with no proper notice and contrary to

the Counties’ “best interest,” each in breach of the Contracts, and Tyler is in jeopardy of further

breaches of contract by other Counties due to Defendants’ tortious conduct.


     COUNT IV: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP
                          (against all Defendants)

       106.    Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

       107.    At all relevant times, Tyler had business relationships with the Counties.

       108.    At all relevant times, Defendants had actual knowledge of the business

relationships between the Counties and Tyler. During their time as Tyler employees, Davis and

Thornsberry were assigned to work with the Counties. On information and belief, Davis and


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Thornsberry provided their knowledge of Tyler’s business relationships with the Counties to Lexur

and Fry in connection with the Rebid Conspiracy. Also, as a regional competitor, Lexur would

certainly have known that Tyler was the current service provider for the Counties as to the services

for which it was itself bidding. Moreover, the 2017 Tyler Contracts are publicly available

documents.

        109.     Defendants knowingly, wrongfully, intentionally, maliciously, and tortiously

interfered with Tyler’s business relationships with the Counties without justification and through

improper means by, among other things, encouraging, assisting, and supporting a conspiracy for

the Counties to issue out-of-cycle requests for bids with an unusually short turnaround time and

minimal notice designed to eliminate competition, to terminate the Counties’ 2018–2022 cyclical

reassessment contracts with Tyler, and to award the cyclical reassessment contracts to Lexur as

the sole bidder.

        110.     Defendants’ interference with Tyler’s business relationships with the Counties was

malicious and specifically directed to the injury and damage of Tyler, as described above.

        111.     Defendants’ tortious interference with Tyler’s business relationships with the

Counties involved illegal action including, but not limited to, the violation of federal and Indiana

antitrust law.

        112.     As a direct and proximate result of Defendants’ improper actions, Tyler’s business

relationships with the Counties have been irreparably damaged, and Tyler has suffered monetary

damages in an amount to be proven at trial. Three of the Counties have terminated their cyclical

reassessment contracts with Tyler (without proper notice and despite such terminations not being

in the Counties’ “best interest”), and Tyler is in jeopardy of losing further contracts due to

Defendants’ tortious conduct.




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                    COUNT V: BREACH OF THE DUTY OF LOYALTY
                           (against Davis and Thornsberry)

         113.   Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

         114.   By employing Davis and Thornsberry, compensating them with salary and benefits,

and granting them the power to oversee and manage Tyler’s contracts and business relationships,

Tyler instilled trust and confidence in Davis and Thornsberry, and relied on them to be honest and

to deal with Tyler with the utmost loyalty and good faith.

         115.   Tyler further relied upon Davis and Thornsberry to utilize their best skill and

judgment during their employment with Tyler, act solely for the benefit of Tyler, and refrain from

engaging in any conduct that would aid a competitor of Tyler.

         116.   During the course of Davis’ and Thornsberry’s employment with Tyler, however,

Davis and Thornsberry willfully breached their duty of loyalty to Tyler by, among other things,

encouraging, assisting, and supporting a conspiracy for the Counties to issue out-of-cycle requests

for bids with an unusually short turnaround time and minimal notice designed to eliminate

competition, to terminate the Counties’ 2017 Tyler Contracts, to award the cyclical reassessment

contracts to Lexur as the sole bidder, and to directly plan for “All Staff” at Tyler working for the

Counties to resign and join Lexur, including by directly soliciting those staff members to leave

Tyler.

         117.   As a direct and proximate result of Davis and Thornsberry’s breaches of their duty

of loyalty to Tyler, Tyler has been, and will continue to be, irreparably harmed, and has suffered

monetary damages in an amount to be determined at trial. Tyler is entitled to disgorgement of




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salary and other compensation provided to Davis and Thornsberry, punitive damages, and lost

profits.


                                COUNT VI: CIVIL CONSPIRACY
                                    (against all Defendants)

           118.   Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

           119.   Defendants intentionally engaged in concerted action to violate federal and Indiana

anti-trust laws and to tortiously interfere with Tyler’s contractual and business relationships. In

particular, Defendants encouraged, assisted, and supported a conspiracy for the Counties to issue

out-of-cycle requests for bids with an unusually short turnaround time and minimal notice designed

to eliminate competition, to terminate the Counties’ 2018–2022 cyclical reassessment contracts

with Tyler, and to award the cyclical reassessment contracts to Lexur as the sole bidder.

           120.   As a direct and proximate result of Defendants’ unlawful common plan, Tyler has

been, and will continue to be, irreparably harmed, and has sustained monetary damages in an

amount to be determined at trial.


                             COUNT VII: BREACH OF CONTRACT
                                   (against Thornsberry)

           121.   Tyler realleges and incorporates by reference the allegations contained in each of

the proceeding paragraphs of this Complaint as if set forth herein.

           122.   On March 4, 2020, Tyler and Thornsberry entered into a valid and binding contract

— the Restrictive Covenant Agreement.

           123.   Tyler has fully performed its material obligations under the Restrictive Covenant

Agreement at all relevant times herein.




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        124.    Pursuant to the Restrictive Covenant Agreement’s terms, Thornsberry agreed to the

following (among other things):

        [F]or the one-year period following the termination of [Thornsberry’s]
        employment, for any reason, [Thornsberry] shall not (a) contact, call upon, solicit,
        or perform services competitive with those of Tyler as to any customer of Tyler for
        whom [Thornsberry] provided services or solicited, called on, or marketed on
        behalf of Tyler during the final two years of [Thornsberry’s] employment with
        Tyler, or (b) recruit, solicit or hire, or encourage or assist other persons or entities
        to recruit, solicit or hire, any employees of Tyler.

        Exhibit A at 2.

        125.    Thornsberry has expressly communicated to Tyler that he does not believe he has

to abide by this restriction.

        126.    On information and belief, Thornsberry has breached, or intends to breach, his

obligations under the Restrictive Covenant Agreement by performing services for Lexur for the

Counties.

        127.    As a direct and proximate result of Thornsberry’s breach of the Restrictive

Covenant Agreement, Tyler has been, and will continue to be, irreparably harmed, and has

sustained monetary damages in an amount to be determined at trial.

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                                  PRAYER FOR RELIEF

     WHEREFORE, Tyler respectfully requests that the Court:

     A.     Enter judgment in Tyler’s favor and against Defendants on all counts of this
            complaint;

     B.     Award Tyler actual, compensatory, consequential, special, punitive, exemplary,
            and treble damages in an amount to be determined at trial;

     C.     Award Tyler pre and post judgment interest in an amount to be proven at trial;

     D.     Award Tyler the costs it incurs in connection with this proceeding and reasonable
            attorney’s fees in an amount to be proven at trial; and

     E.     Grant Tyler such other relief as this Court deems just and proper.

                                      JURY DEMAND

     Tyler demands a trial by jury on all claims so triable.




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                                   Respectfully submitted,


                                   TYLER TECHNOLOGIES, INC.


                                   By its attorneys,


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Dated: August 10, 2020




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